         Case 5:20-cr-00543-OLG Document 376 Filed 05/23/22 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §          NO. 5:20-CR-00543(2)-OLG
                                                   §
FAUSTINO CAMPOS NAJERA                             §


              DEFENDANT’S UNOPPOSED MOTION FOR CONTINUANCE

TO THE HONORABLE ORLANDO L. GARCIA, CHIEF DISTRICT JUDGE OF THE UNITED
STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF TEXAS:

       Defendant, Faustino Campos Najera, by and through his counsel, moves the Court to
continue the above cause upon the following grounds:
         1. This cause is presently set for trial on June 6, 2022.
         2. Counsel is in the process of negotiating plea terms.
         3. This motion for continuance filed by the Defendant is not made for purposes of delay,
             but so that justice may be done.
       WHEREFORE, PREMISES CONSIDERED, the Defendant prays that the above cause
be reset for 60 (sixty) days.




                                                Respectfully submitted,

                                                /s/ FRANK A. MENCHACA
                                                629 S. Presa
                                                San Antonio, Texas 78210
                                                (210) 227-6305
                                                Fax: (210) 479-0732
                                                State Bar Number: 00795788
                                                Attorney for Faustino Campos Najera
        Case 5:20-cr-00543-OLG Document 376 Filed 05/23/22 Page 2 of 3




                            CERTIFICATE OF CONFERENCE

       I hereby certify that on the 17th day of May, 2022, I conferred with AUSA, Adrian Rosales,
and he is unopposed to this continuance.


                                            /s/ Frank A. Menchaca
                                            Attorney for Faustino Campos Najera




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of May, 2022, I electronically filed the foregoing
Defendant’s Unopposed Motion for Continuance and Extension of Deadlines with the Clerk of the
Court using the CM/ECF system which will give notification of such filing to the following:


Adrian Rosales
Assistant United States Attorney
601 N. W. Loop 410, Suite 600
San Antonio, Texas 78216




                                            /s/ Frank A. Menchaca
                                            Attorney for Faustino Campos Najera
        Case 5:20-cr-00543-OLG Document 376 Filed 05/23/22 Page 3 of 3




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

UNITED STATES OF AMERICA                      §
                                              §
V.                                            §          NO. 5:20-CR-00543(2)-OLG
                                              §
FAUSTINO CAMPOS NAJERA                        §


                                         ORDER

       On this day came on to be considered Defendant’s Unopposed Motion for Continuance.

The Court, having considered the motion and noting that the Government does not oppose a

continuance, is of the opinion that the continuance should be and hereby is GRANTED.

       IT IS FURTHER ORDERED that the above entitled and numbered cause is continued until

the _______ day of _____________________________________, 2022.

       So ORDERED and ENTERED on this the               day of May, 2022.



                                           ___________________________________
                                           ORLANDO L. GARCIA
                                           Chief United States District Judge
